HEWLETT-PACKARD COMPANY, AND CONSOLIDATED SUBSIDIARIES, Petitioner, v. COMMISSIONER OF INTERNAL REVENUE, Respondent.Hewlett-Packard Co. v. Comm'rDocket No. 10075-08United States Tax Court2014 U.S. Tax Ct. LEXIS 62; July 17, 2014, Entered*62 For Hewlett-Packard Company and Consolidated Subsidiaries (010075-08, 021976-07), Primary Corporation: Beth L Williams, Morgan, Lewis &amp; Bockius, LLP, Palo Alto, CA; Scott H. Frewing, Cecilia Chui, Baker &amp; McKenzie, LLP, Palo Alto, CA; Albert Hanauer Turkus, Skadden, Arps, Slate, etc., Washington, DC; Catlin Anne Urban, Baker &amp; McKenzie, LLP, Chicago, IL; Paul W. Oosterhuis, Alan J.J. Swirski, David W. Foster, Skadden, Arps, Slate, Meagher, etc, Washington, DC; Lauren D. Laitin, Skadden Arps, Washington, DC.For Commissioner of Internal Revenue (010075-08, 021976-07), Respondent: Davis G. Yee, IRS Office of Chief Counsel, San Francisco, CA.Joseph Robert Goeke, Judge.Joseph Robert GoekeDECISIONPursuant to the stipulations of the parties filed in the above-entitled case and the opinions of the Court filed on May 14, 2012 and September 24, 2012, and incorporating herein the facts recited in Respondent's computation as the findings of the Court, it isORDERED AND DECIDED: That there is no deficiency in income tax due from Petitioner for the tax year ended October 31, 2003, and that there is an overpayment in income tax for the tax year ended October 31, 2003, in the amount of $903,491, which*63  amount was paid on March 31, 2004, and for which amount a claim for refund could have been filed under the provisions of I.R.C. §§ 6512(b)(3)(B) and 6511(d)(2) on January 30, 2008, the date of the mailing of the notice of deficiency./s/ Joseph Robert GoekeJudgeEntered: JUL 17 2014The parties stipulate that the foregoing decision is in accordance with the opinions of the Court, the parties' stipulations, and Respondent's computation, and that the Court may enter this decision, without prejudice to the right of either party to contest the correctness of the decision entered herein.The parties further stipulate that interest will be assessed as provided by law on any deficiencies in tax due from Petitioner.The parties further stipulate that interest will be credited or paid as provided by law on the overpayments of tax due to Petitioner.